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 5
     Attorney for Defendant
 6   Jimmy Au
 7                               UNITED STATES DISTRICT COURT
 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   United States of America,                      )   Case No.: Cr.S-08-0543-GEB
                                                    )
11                  Plaintiff,                      )   STIPULATION AND ORDER TO
                                                    )   MODIFY A CONDITION OF PRETRIAL
12           vs.                                    )   RELEASE
                                                    )
13   Jimmy Au,                                      )
                                                    )
14                  Defendant                       )
                                                    )
15                                                  )
                                                    )
16                                                  )
17
                                         FACTUAL SUMMARY
18

19
             On January 15, 2009, defendant, Jimmy Au, was released from custody on a number of
20
     conditions. Condition number 3 provided as follows:
21
                    You are to reside at a location approved by the pretrial services
22
                    officer …. Initially, Mr. Au shall reside with his brother, David
23                  Au, until approved to move by Pretrial Services. (See copy of
                    “Conditions of Release,” attached hereto as Exhibit “A,” and
24                  incorporated herein by reference.)
25
     /////



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 1             From January 15, 2009 to the present, defendant Jimmy Au has resided, per the
 2   conditions of release, with his brother, David Au. As phrased in the initial condition, living with
 3
     his brother was only to be a temporary situation.
 4
               Assigned Pretrial Services Officer Gaskins is now recommending, for a number of
 5
     positive reasons, that Mr. Au reside, for the foreseeable future, with his sister, whose name is In
 6
     Au, at an address known to Pretrial Services. Ms. Gaskins believes living with his sister will be
 7
     beneficial to Mr. Au.
 8
               Ms. Gaskins requests that third party custody remain with David Au, defendant Jimmy
 9
     Au’s brother, and per stipulation and Order of January 20, 2009, with Erica Luc, defendant
10
     Jimmy Au’s sister-in-law, even though defendant Jimmy Au will be physically living with his
11
     sister.
12
                                               STIPULATION
13

14
               Plaintiff, United States, and Defendant, Jimmy Au, through their undersigned counsel,
15
     hereby stipulate and agree that Condition number 3 of the “Conditions of Release,” filed as
16
     Document 36 on January 16, 2009, be modified so that defendant Jimmy Au is ordered to reside
17
     with his sister, whose name is In Au, at an address known to Pretrial Services.
18
     IT IS SO STIPULATED.
19
     DATED:           April 13, 2009                        Lawrence Brown
20
                                                            Acting United States Attorney
21
                                                            /s/ Michael Beckwith
22                                                 by
                                                            Michael Beckwith
23                                                          Assistant U.S. Attorney
                                                            by Jan David Karowsky
24

25




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 1   DATED:         April 13, 2009                        JAN DAVID KAROWSKY
                                                          Attorney at Law
 2                                                        A Professional Corporation
 3
                                                          /s/ Jan Karowsky
 4
                                                  by
                                                          JAN DAVID KAROWSKY
 5                                                        Attorney for Defendant
                                                          Jimmy Au
 6

 7                                               ORDER

 8

 9
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Condition number 3
10
     of the “Conditions of Release,” filed in the minutes and records of this case as Document 36 on
11
     January 16, 2009, be modified so that defendant Jimmy Au is hereby ordered to reside with his
12
     sister, whose name is In Au, at an address known to Pretrial Services.
13

14   IT IS SO ORDERED.
15
     Dated: April 15, 2009.
16
                                               ______________________________________
17
                                               DALE A. DROZD
18                                             UNITED STATES MAGISTRATE JUDGE

19   Ddad1/orders.criminal/au0543.stipord

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21

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23

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